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UNITEI) STATES DISTRICT COURT
EASTERN I}ISTRICT OF NEW YORK

 

RUDY FLORENCIO and OSCAR GUERRA,

 

 

 

Pla,intiffs, Case NO. 18-€\’-6619
v. STIPULA'I`ION EXTENDING
DEFENDANTS’ TIME TO
FLOR AZTECA DEL[ & GROCERY INC. and/or ANSWER OR OTHERWISE
any other entities affiliated With or controlled by MOVE

FLOR AZTECA DE]`_,I & GROCERY INC., and
SANDRA GONZALEZ AND JUAN TENDIA,
individually

Dei`endants

 

 

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned
counsel for `Plaintiffs Rudy Fiorencio and OScar Guerra (“Plaintil`fs”) and Def`endants Flor Azteea
Deli & Grocery inc., Sandra Gonzalez, and Juan Tendia, (“Def`endants”), that Defendants shall
have until }anuary 14, 2019 to answer, move, or otherwise respond to the Complaint filed by
Plaintiff on November 20, 2018 (hereinal’cer “Compiaint”). There has been no previous request for
an extension of time to respond to Plaintiff"s Complaint in this matter.

IT IS FURTHER STIPULATED ANI) AGREED that Defendants hereby waive the

affirmative defense of defective Service of process with respect to Plaintiff’s Complaint and agree

to acceit serv' e thereof
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L`i'oyd R B§zder, Esq. . Bryce Jones, Esq.
Leonor . oyle, Esq.

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DATED: December 14, 2018 [)ATED: December 14, 20¥8

